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 6                                  UNITED STATES DISTRICT COURT

 7                                          DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                           )
                                                          )
 9                           Plaintiff,                   )
                                                          )
10            v.                                          )          2:08-CR-311-RLH (GWF)
                                                          )
11    HAGOB PALIKYAN,                                     )
                                                          )
12                           Defendant.                   )

13

14                             AMENDED FINAL ORDER OF FORFEITURE

15            On March 3, 2011, the United States District Court for the District of Nevada entered a

16    Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

17    Code, Section 981(a)(1)(C), and Title 28, United States Code, Section 2461(c); and United States

18    Code, Section 1028A(a)(1) and (c)(4), based upon the plea of guilty by defendant HAGOB

19    PALIKYAN to criminal offenses, forfeiting specific property alleged in the Second Superseding

20    Indictment and agreed to in the Plea Memorandum and shown by the United States to have a requisite

21    nexus to the offense to which defendant HAGOB PALIKYAN pled guilty. Docket #103, #288, #289.

22            This Court finds the United States of America published the notice of the forfeiture in

23    accordance with the law via the official government internet forfeiture site, www.forfeiture.gov,

24    consecutively from March 22, 2011, through to April 20, 2011, notifying all known third parties of

25    their right to petition the Court. #308.

26    ...
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 1           After a preliminary order of forfeiture was executed by this Court, pertaining to all of the
 2    seized items, the United States notified all known and interested third parties of the United States’
 3    interest in the forfeited items, including the 2008 black Mercedes-Benz wagon, identified as Item
 4    No. “aan” below. Thereafter, Victoria Berberian made her interest in the car known and on June
 5    10, 2011, the United States and Victoria Berberian entered into a Stipulation pertaining to the
 6    disposition of the Mercedes-Benz vehicle that was filed with this Court on June 10, 2011. #327
 7             On June 14, 2011, this Court entered that order granting the Petition, Stipulation for
 8    Return of Property and Order. #330.
 9             As regards the Mercedes Benz, this Court finds no other petitions were filed herein by or
10    on behalf of any person or entity and the time for filing such petitions and claims has expired.
11             As regards the Mercedes Benz, this Court finds no petitions are pending with regard to the
12    assets named herein and the time for presenting such petitions has expired.
13             THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all
14    right, title, and interest in the property hereinafter described is condemned, forfeited, and vested in
15    the United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.
16    32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code,
17    Section 2461(c); Title 18, United States Code, Section 1028A(a)(1) and (c)(4); and Title 21, United
18    States Code, Section 853(n)(7) and shall be disposed of according to law:
19             a.     Sony Brown 42" Lcd Tv, S/N 1050106;
               b.     Sony Brown 42" Lcd Tv, S/N 1002050;
20             c.     Dell Model 1320 Laser Printer, S/N 35rphf1;
               d.     Dell Model 1850 Laser Printer, S/N H1c34091;
21             e.     Acer Laptop, S/N Lxal70x043820001ef2513;
               f.     Dell Xps Laptop, S/N 5vg3kd1;
22             g.     Apple Mac Laptop, S/N W8807f5dop1;
               h.     Hp Laptop, S/N 2ce7222m6q;
23             i.     Mac Book Air, S/N W8813ppuy51;
               j.     Miscellaneous Cards, Cables, Remotes, Controllers, Stands;
24             k.     3.5 X Drive, Extend Harddrive, S/N 020851;
               l.     Apple Tv, S/N 6f8182w04cp;
25             m.     Wd External Hard Drive, S/N Wxh207674808;
               n.     Msr 206 Encoder, S/N A015401;
26             o.     Psp Portable, S/N Pp865026504-Psp1001;

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 1           p.     Psp Portable, S/N At045924040-Psp2001;
             q.     Ipod Touch 16 Bg, S/N 1c80167a/4p;
 2           r.     Iphone, S/N 5k81880jwh8;
             s.     Iphone, S/N Bcga1241;
 3           t.     Iphone, S/N 5k80247kwh8;
             u.     Iphone, S/N 579ca1241;
 4           v.     Sandisk 2 Gb Flashdrive, S/N 2048rb;
             w.     Sandisk 4 Gb Flashdrive, S/N 4096rb;
 5           x.     Sandisk 1 Gb Flashdrive, S/N 1024rb;
             y.     Pny Attache 1 Gb Flashdrive, No S/N;
 6           z.     Logitech Mx Revolution Thumbdrive, S/N 810-000412;
             aa.    Iron Key Thumbdrive, S/N 0140485;
 7           ab.    Iron Key Thumbdrive, S/N 0140551;
             ac.    Dell Xps Tower, S/N 30gzcg1;
 8           ad.    Playstation 3, S/N Ce124062502-Cecha01;
             ae.    Playstation 3, S/N Ce514635354-Cechg01;
 9           af.    Xbox 360, S/N 311730682105;
             ag.    Xbox 360, No S/N;
10           ah.    1 - Xbox 360 Video Game;
             ai.    11 - Playstation 3 Video Games;
11           aj.    6 - Psp Games In Case;
             ak.    35 - Blue Ray Movies;
12           al.    Wtj-90a Tipper;
             am.    $3,000 Cash (From Gary Ambartsumyan’s room);
13           an.    $4900 Cash (From Artur Ambartsumyan’s room);
             ao.    $14,802.63 in Money Gram Money Orders;
14           ap.    Mens’ Breitling Bentley Watch, S/N A25362; and
             aq.    Mens’ Breitling Bentley Watch;
15           ar     counterfeit access device containing unauthorized account information for Visa
                    debit card account in the name of M.V., account number ending in X-4923;
16           as.    counterfeit access device containing unauthorized account information for Visa
                    debit card account in the name of G.V., account ending in X-2319;
17           at.    counterfeit access device containing unauthorized account information for Visa
                    debit card account in the name of C.D., account ending in X-1918;
18           au.    counterfeit access device containing unauthorized account information for a
                    Bank of America Visa debit card account, account ending in X-7119;
19           av.    counterfeit access device containing unauthorized account information for Bank
                    of America Visa debit card account in the name of J.R., account ending in X-
20                  4609;
             aw.    counterfeit access device containing unauthorized account information for a
21                  Bank of America Visa debit card account in the name of B.J., account ending
                    in X-1577;
22           ax.    counterfeit access device containing unauthorized account information for a
                    Bank of America Visa debit card account, account ending in X-8491;
23           ay.    counterfeit access device containing unauthorized account information for Bank
                    of America Visa debit card account, account ending in X-6657;
24           az     counterfeit access device containing unauthorized account information for Bank
                    of America Visa debit card account, account ending in X-9612;
25           aaa.   counterfeit access device containing unauthorized account information for Bank
                    of America Visa debit card account in the name of G.S., account ending in X-
26                  2034;

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 1             aab. counterfeit access device containing unauthorized account information for Bank
                    of America Visa debit card account in the name of C.S., account ending in X-
 2                  3846;
               aac. counterfeit access device containing unauthorized account information for Bank
 3                  of America Visa debit card account in the name of S.K., account ending in X-
                    5010;
 4             aad. counterfeit access device containing unauthorized account information for Bank
                    of America Visa debit card account in the name of E.H., account ending in X-
 5                  4275;
               aae. counterfeit access device containing unauthorized account information for Bank
 6                  of America Visa debit card account in the name of B.W., account ending in X-
                    7341;
 7             aaf. counterfeit access device containing unauthorized account information for Bank
                    of America Visa debit card account, account ending in X-3019;
 8             aag. counterfeit access device containing unauthorized account information for Bank
                    of America Visa debit card account in the name of D.R., account ending in X-
 9                  4018;
               aah. counterfeit access device containing unauthorized account information for Bank
10                  of America Visa debit card account, account ending in X-7017;
               aai. counterfeit access device containing unauthorized account information for Bank
11                  of America Visa debit card account, account ending in X-6691;
               aaj. counterfeit access device containing unauthorized account information for
12                  Wells Fargo debit card account, number ending in X-4424;
               aak. counterfeit access device containing unauthorized account information for a
13                  Wells Fargo debit card account, account number ending in X-7930;
               aal. counterfeit access device containing unauthorized account information for a
14                  Wells Fargo debit card account, number ending in X-6110;
               aam. 2008 White BMW M5, VIN WBSNB93548CX09044;
15             aan. 2008 Black Mercedes Benz G-500 Wagon, VIN WDCYR49E38X171546;
               aao. 2006 Black Quad Cab Dodge Dakota Truck, VIN 1D7HA18286J185015; and
16             aap. an in personam criminal forfeiture money judgment of $663,089.35 in United
                    States Currency (“the property”).
17

18             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited
19    funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well
20    as any income derived as a result of the United States of America’s management of any property
21    forfeited herein, and the proceeds from the sale of any forfeited property shall be disposed of
22    according to law.
23    ...
24    ...
25    ...
26    ...

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 1             The Clerk is hereby directed to send copies of this Order to all counsel of record and three
 2    certified copies to the United States Attorney’s Office.
 3                          9th
               DATED this _________           August
                                    day of _______________, 2011.
 4

 5                                                  UNITED STATES DISTRICT JUDGE
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 1                                         PROOF OF SERVICE
 2            I, Elizabeth Baechler-Warren, Forfeiture Support Associate Paralegal, certify that the
 3    following individuals were served with a copy of the Amended Final Order of Forfeiture on August
 4    8, 2011, by the below identified method of service:
 5            CM/ECF:
 6            Alex R. Kessel                   Donald J. Green
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 8            kessellaw@sbcglobal.net          Crimelv7777@aol.com
              Counsel for Arman and Hagob Palikyan Counsel for Arman and Hagob Palikyan
 9
              Jerry T. Donohue                     Daniel J. Albregts
10            Jerry T. Donohue, Esq., LLC          Daniel J. Albregts, Esq.
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12            Counsel for Hagob Palikyan           Counsel for Armen Ambartsumyan
13            David T. Brown                       Travis E. Shetler
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15            master@brownlawlv.com                Travisshetler@gmail.com
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16
              Charles E. Kelly                     Gary L. Myers
17            Charles E. Kelly & Associates        Law Office of Gary L. Myers
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18            Las Vegas, NV 89101                  Las Vegas, NV 89128
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19            Counsel for Iyad Nazzal              Counsel for Danimyar Dosunkulov
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22            Email: rschonfeld@cslawoffice.net
              Counsel for Arman and Hagob Palikyan
23

24

25

26

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23

24

25                                               /s/ Elizabeth Baechler-Warren
                                                 Elizabeth Baechler-Warren
26                                               Forfeiture Support Associate Paralegal

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